                           Case 1:17-cr-00016-DLH Document 210 Filed 01/18/18 Page 1 of 2
/RFDO$25HY$UUHVW:DUUDQW



                                              81,7('67$7(6',675,&7&2857
                                                  ',675,&72)1257+'$.27$
                                                                 

                                                    

                    8QLWHG6WDWHVRI$PHULFD
                               Y                                      
                                                                       
                           Redfawn Fallis                                      &DVH1R 1:17-cr-016
                                                                       
                                                                       
                               Defendant


                                                         ARREST WARRANT
7R      $Q\DXWKRUL]HGODZHQIRUFHPHQWRIILFHU

          YOU ARE COMMANDEDWRDUUHVWDQGEULQJEHIRUHD8QLWHG6WDWHVPDJLVWUDWHMXGJHZLWKRXWXQQHFHVVDU\GHOD\
(name of person to be arrested)                                                Redfawn Fallis                                             
ZKRLVDFFXVHGRIDQRIIHQVHRUYLRODWLRQEDVHGRQWKHIROORZLQJGRFXPHQWILOHGZLWKWKHFRXUW

u ,QGLFWPHQW                u 6XSHUVHGLQJ,QGLFWPHQW          u ,QIRUPDWLRQ        u 6XSHUVHGLQJ,QIRUPDWLRQ                u &RPSODLQW
u 3UREDWLRQ9LRODWLRQ3HWLWLRQ                 u 6XSHUYLVHG5HOHDVH9LRODWLRQ3HWLWLRQ       ✔
                                                                                             u 9LRODWLRQ1RWLFH u 2UGHURIWKH&RXUW

7KLVRIIHQVHLVEULHIO\GHVFULEHGDVIROORZV
 Alleged violations of pretrial release




'DWH     01/18/2018                                                       /s/ Renee Hellwig
                                                                                                 Issuing officer’s signature

&LW\DQGVWDWH       Bismarck, ND                                         Renee Hellwig, Deputy Clerk
                                                                                                   Printed name and title


                                                                     Return

           7KLVZDUUDQWZDVUHFHLYHGRQ(date)                             DQGWKHSHUVRQZDVDUUHVWHGRQ(date)
DW(city and state)                                              

'DWH
                                                                                                Arresting officer’s signature



                                                                                                   Printed name and title
                           Case 1:17-cr-00016-DLH Document 210 Filed 01/18/18 Page 2 of 2
$25HY$UUHVW:DUUDQW3DJH




                       This second page contains personal identifiers provided for law-enforcement use only
                       and therefore should not be filed in court with the executed warrant unless under seal.

                                                      (Not for Public Disclosure)

1DPHRIGHIHQGDQWRIIHQGHU
.QRZQDOLDVHV
/DVWNQRZQUHVLGHQFH
3ULRUDGGUHVVHVWRZKLFKGHIHQGDQWRIIHQGHUPD\VWLOOKDYHWLHV


/DVWNQRZQHPSOR\PHQW
/DVWNQRZQWHOHSKRQHQXPEHUV
3ODFHRIELUWK
'DWHRIELUWK
6RFLDO6HFXULW\QXPEHU
+HLJKW                                                                :HLJKW
6H[                                                                   5DFH
+DLU                                                                  (\HV
6FDUVWDWWRRVRWKHUGLVWLQJXLVKLQJPDUNV



+LVWRU\RIYLROHQFHZHDSRQVGUXJXVH


.QRZQIDPLO\IULHQGVDQGRWKHUDVVRFLDWHV(name, relation, address, phone number)


)%,QXPEHU
&RPSOHWHGHVFULSWLRQRIDXWR


,QYHVWLJDWLYHDJHQF\DQGDGGUHVV


1DPHDQGWHOHSKRQHQXPEHUVRIILFHDQGFHOORISUHWULDOVHUYLFHVRUSUREDWLRQRIILFHU(if applicable)



'DWHRIODVWFRQWDFWZLWKSUHWULDOVHUYLFHVRUSUREDWLRQRIILFHU(if applicable)
